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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                             §
 IN RE: AT&T Inc. CUSTOMER DATA              §
 SECURITY BREACH LITIGATION                  § CASE NO. 3:24-cv-00757-E
                                             §
                                             §
                                             § MDL DOCKET NO.: 3:24-md-03114-E
 This Document Relates to All Cases          §
                                             §

                             CASE MANAGEMENT ORDER #2

        On July 24, 2024, the Court entered its Case Management Order #1, which instructed

counsel for Plaintiffs and Defendant to file application(s) regarding leadership for respective

counsel in accordance with the Manual for Complex Litigation, Fourth. (ECF No. 97 at 5-7). The

Court requested applications from interested counsel. (ECF No. 97 at 5-7). The Court received

several applications from counsel on Plaintiff’s Steering Committee and none from Defense

Counsel.

        Having carefully considered the submissions by counsel and the criteria set forth in the

Manual for Complex Litigation, the Court hereby appoints the below leadership structure for

Plaintiffs. See Organizational Structures, Ann. Manual Complex Lit. § 10.221 (4th ed.). The Court

has reviewed the applications counsel submitted and concludes that all of the lawyers applying for

leadership positions have satisfactory qualifications, credentials, and experience to serve in

leadership roles in the litigation. See Court’s Responsibilities, Ann. Manual Complex Lit. § 10.224

(4th ed.).



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      I.       PLAINTIFF’S LEAD COUNSEL, LIAISON COUNSEL, AND EXECUTIVE COMMITTEE

A. Appointment of Plaintiff’s Lead and Liaison Counsel - The Court hereby appoints as Lead

    and Liaison Counsel for Plaintiffs (“Lead Counsel”):

        a. W. Mark Lanier 1
           THE LANIER LAW FIRM, P.C.
           10940 W. Sam Houston Pkwy N. Ste. 100
           Houston, Texas 77064
           Tel: 713-659-5200/Fax: 713-659-2204
           Mark.Lanier@lanierlawfirm.com

B. Appointment of Plaintiff’s Executive Committee – The Court hereby appoints the following

    counsel as the Executive Committee for Plaintiffs (“Executive Committee”) in no particular

    order:

        a. Shauna Itri 2
           Seeger Weiss LLP
           325 Chestnut Street, Suite 917
           Philadelphia, PA 19106
           Telephone: 215-553-7981
           sitri@seegerweiss.com

        b. James E Cecchi 3
           Carella Byrne Cecchi Brody & Agnello PC
           5 Becker Farm Road
           Roseland, NJ 07068
           973-994-1700
           Email: jcecchi@carellabyrne.com

        c. Jean Sutton Martin 4
           Morgan & Morgan Mass Tort Dept.
           201 N Franklin Street 6th Floor
           Tampa, FL 33602
           813-559-4908
           Email: jeanmartin@forthepeople.com




1
  (See ECF No. 139).
2
  (See ECF No. 157).
3
  (See ECF No. 158).
4
  (See ECF No. 125).


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        d. Sean S Modjarrad 5
           Modjarrad Abusaad & Said
           212 W Spring Valley Road
           Richardson, TX 75081
           972-789-1664
           Fax: 972-789-1665
           Email: smodjarrad@mas.law

C. Appointment of Plaintiff’s Steering Committee – The Court hereby appoints the following

    counsel as the Steering Committee for Plaintiffs (“Steering Committee”) in no particular order:

        a. Charles E Schaffer 6
           Levin Sedran & Berman LLP
           510 Walnut Street, Suite 500
           Philadelphia, PA 19106
           215-592-1500
           Fax: 215-592-4663
           Email: cschaffer@lfsblaw.com

        b. Joseph P Guglielmo 7
           Scott+Scott Attorneys at Law LLP
           230 Park Avenue, 17th Floor
           New York, NY 10169
           212-776-8259
           Fax: 212-223-6334
           Email: jguglielmo@scott-scott.com

        c. Larry A Golston, Jr. 8
           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
           272 Commerce Street
           Montgomery, AL 36104
           334-269-2343
           Fax: 334-954-7555
           Email: larry.golston@beasleyallen.com




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5
  (See ECF No. 119).
6
  (See ECF No. 138).
7
  (See ECF No. 117).
8
  (See ECF No. 148).


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        d. Nicholas R Lange 9
           Freed Kanner London & Millen LLC
           100 Tri-State International Drive, Suite 128
           Lincolnshire, IL 60069
           224-632-4510
           Fax: 224-632-4521
           Email: nlange@fklmlaw.com

        e. Rebecca L Solomon 10
           Tousley Brain Stephens PLLC
           1200 5th Ave, Ste 1700
           Seattle, WA 98101
           206-682-5600
           Email: rsolomon@tousley.com

        f. Thomas E Loeser 11
           Cotchett Pitre & McCarthy LLP
           999 N Northlake Way, Suite 215
           Seattle, WA 98103
           206-970-8181
           Email: tloeser@cpmlegal.com

D. The Court reserves the right to make changes and adjustments to Plaintiffs’ leadership as
   necessary. The Court intends to periodically review these appointments and make changes as
   necessary. (See ECF No. 97 at 5-7).

                                     II.     STATUS CONFERENCE

The Court shall set an initial status conference in an order to follow.

        SO ORDERED this day of August 14, 2024.



                                              ___________________________________
                                              ADA BROWN
                                              UNITED STATES DISTRICT JUDGE




9
  (See ECF No. 147).
10
   (See ECF No. 143).
11
   (See ECF No. 123).


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